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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                    :
          Plaintiff,
                                             :             Case No. 1:20-CR-077
       vs.
                                             :             JUDGE BLACK
LARRY HOUSEHOLDER, et al,                    :

               Defendant.                    :

                                 NOTICE OF APPEARANCE

       Steven S. Nolder hereby enters his appearance as trial attorney on behalf of movant,

Timothy Burga.

                                             Respectfully submitted,

                                             /s/ Steven S. Nolder___________
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing document has been electronically

served on all counsel this 30th day of January, 2023.


                                             /s/ Steven S. Nolder
                                             Steven S. Nolder (0037795)
                                             Attorney for Timothy Burga
